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                          EXHIBIT 1
   DEFENDANTS’ OPENING BRIEF IN SUPPORT OF ITS MOTION TO DISMISS




                           C.A. No. 1:21-cv-01417-RGA
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  c12)    United States Patent                                               (10) Patent No.:                  US 10,256,786 Bl
          Gibb et al.                                                        (45) Date of Patent:                             Apr. 9, 2019

  (54)    COMMUNICATION FILTER USING SINGLE                             (52)     U.S. Cl.
          CRYSTAL ACOUSTIC RESONATOR                                             CPC ........... H03H 9102 (2013.01); H0JL 4110477
          DEVICES                                                                           (2013.01); H0JL 411053 (2013.01); H0JL
                                                                                      41129 (2013.01); H03H 3102 (2013.01); H03H
  (71)    Applicant: Akoustis, Inc., Huntersville, NC (US)                              9102015 (2013.01); H03H 9/0514 (2013.01);
                                                                                                                      H03H 9/133 (2013.01)
                                                                        (58)     Field of Classification Search
  (72)    Inventors: Shawn R. Gibb, Huntersville, NC
                                                                                 CPC ............................. H03H 9/02; H03H 9/02007
                     (US); Ramakrishna Vetury, Charlotte,
                                                                                 See application file for complete search history.
                     NC (US); Jeffrey B. Shealy, Davidson,
                     NC (US); Mark D. Boomgarden,                       (56)                       References Cited
                     Huntersville, NC (US); Michael P.
                                                                                           U.S. PATENT DOCUMENTS
                     Lewis, Charlotte, NC (US); Alexander
                     Y. Feldman, Huntersville, NC (US)                         9,123,885 B2 *       9/2015 Iwamoto .                    H03H 3/02
                                                                               9,893,270 B2 *       2/2018 Araki .                      H03H 3/02
  (73)    Assignee: Akoustis, Inc., Huntersville, NC (US)                                      (Continued)
                                                                        Primary Examiner - Dean Takaoka
  ( *)    Notice:      Subject to any disclaimer, the term ofthis       Assistant Examiner - Alan Wong
                       patent is extended or adjusted under 35          (74) Attorney, Agent, or Firm - Richard T. Ogawa;
                       U.S.C. 154(b) by 71 days.                        Ogawa P.C.
                                                                        (57)                     ABSTRACT
  (21)    Appl. No.: 15/647,098
                                                                        A communication system using a single crystal acoustic
                                                                        resonator device. The device includes a piezoelectric sub-
  (22)    Filed:       Jul. 11, 2017
                                                                        strate with a piezoelectric layer formed overlying a thinned
                                                                        seed substrate. A topside metal electrode is formed overlying
                                                                        the substrate. A topside micro-trench is formed within the
                   Related U.S. Application Data                        piezoelectric layer. A topside metal with a topside metal plug
  (60)    Provisional application No. 62/360,904, filed on Jul.         is formed within the topside micro-trench. First and second
          11, 2016.                                                     backside trenches are formed within the seed substrate under
                                                                        the topside metal electrode. A backside metal electrode is
  (51)    Int. Cl.                                                      formed under the seed substrate, within the first backside
          H03H 9102               (2006.01)                             trench, and under the topside metal electrode. A backside
          H0JL 41104              (2006.01)                             metal plug is formed under the seed substrate, within the
          H03H 9/05               (2006.01)                             second backside trench, and under the topside micro-trench.
          H03H 9/13               (2006.01)                             The backside metal plug is connected to the topside metal
          H0JL 411053             (2006.01)                             plug and the backside metal electrode. The topside micro-
          H03H 3102               (2006.01)                             trench, the topside metal plug, the second backside trench,
          H0JL 411047             (2006.01)                             and the backside metal plug form a micro-via.
          H0JL 41129              (2013.01)                                               20 Claims, 18 Drawing Sheets



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                                                                29/25.35

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        144



                             113


                                    FIG. 1A



                                               129
                                                                 /102



        144




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                                    FIG. 1B
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                            113                              7
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                                    FIG. 1C




                                                             /104




        144



                            113

                                    FIG. 1D
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                                                                                                       FIG. 2

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                                                                                                       FIG. 3




                                                                                                       FIG. 4A
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                                                                                                                           FIG. 4B

                                                                                                                                         Plasma




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                     Case 1:21-cv-01417-JPM                  Document 11-1           Filed 11/24/21         Page 8 of 30 PageID #: 118




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                                                                         FIG. 5


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                                                                         FIG. 6
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                                                                                                          FIG. 8
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                                                                                                          FIG. 9A
                                    Case 1:21-cv-01417-JPM                                                                      Document 11-1 Filed 11/24/21                                                                                            Page 11 of 30 PageID #:
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                                                            FIG.10

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                                                            FIG.11A
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                                                            FIG.11B
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                                     119              121
                         130




                                    FIG.12A
                                               1202
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                                     118
                         130




                                    FIG.128
                                               1203
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                         130         118




                                    FIG.12C
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                                      FIG.12D




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                                      FIG.12E
           Case 1:21-cv-01417-JPM   Document 11-1 Filed 11/24/21   Page 15 of 30 PageID #:
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                                                 FIG.13
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                                                        FIG. 14A

                                                                   /1402



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                                                        FIG. 14B
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                                                    FIG. 14C
                                                                  /1404


                    130                                 119                               121
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                                       113                                                          114
                                                    FIG. 14D
                                                                  /1405


                    130                                119                                121
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                               113                                                                  1         147

                                                    FIG. 14E
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                  130                              119             121


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                           113                                                                      162


                                                  FIG. 14F


                                                         /1407


                  130                              119             121


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                                                  FIG. 14G
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                                                        FIG. 15A

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                                                        FIG. 15B
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                    130

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                                              FIG. 15C
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                                              FIG. 15D
                                                     /1505

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                              113                                                   162


                                              FIG. 15E
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                                                            1641             Power Amplifier     ~
                                                                                  Or              ~
Antenna        1620          (
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                                                    Switch or
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                                                                             a Bank of PA's

          Switch
           Bank
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                          Filter
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                   H a bank of          I  I,
                                                      .------H
                                           P----, Switch Bank

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                                                                           Low Noise Amplifier
                                                                                   or
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                         filters)          ....__, Switch Bank              a Bank or LNA's       o;
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     COMMUNICATION FILTER USING SINGLE                             input/output, no external matching requirement, low inser-
        CRYSTAL ACOUSTIC RESONATOR                                 tion loss, high interference rejection, -20° C. to +85° C.
                  DEVICES                                          operation, +31 dBm absolute max input power, 2.0xl.6 mm
                                                                   footprint, 0.90 mm max height, RoHS 6 compliant, halogen
            CROSS-REFERENCES TO RELATED                         5 free, and Tetrabromobisphenal A (TBBPA) free. This filter
                        APPLICATIONS                               can be used in smartphones, tablets, Internet of things (IoT),
                                                                   and other mobile or portable communication devices. Those
    The present application claims priority to U.S. Patent         of ordinary skill in the art will recognize other variations,
 Application No. 62/360,904, titled "COMMUNICATION                 modifications, and alternatives.
 FILTER FOR LTE BAND 41," filed Jul. 11, 2016.                  10
                                                                       One or more benefits are achieved over pre-existing
                                                                   techniques using the invention. In particular, the present
           BACKGROUND OF THE INVENTION
                                                                   device can be manufactured in a relatively simple and cost
                                                                   effective manner while using conventional materials and/or
    The present invention relates generally to electronic
                                                                   methods according to one of ordinary skill in the art. Using
 devices. More particularly, the present invention provides 15
 techniques related to bulk acoustic wave resonator devices,       the present method, one can create a reliable single crystal
 single crystal bulk acoustic wave resonator devices, single       based acoustic filter or resonator using multiple ways of
 crystal filter and resonator devices, and the like. Merely by     three-dimensional   stacking through a wafer level process.
 way of example, the invention has been applied to a single        Such single crystal acoustic resonators enable high band-
 crystal resonator device for a communication device, mobile 20 width-low loss filters in a miniature form factor, and such
 device, computing device, among others.                           filters or resonators can be implemented in an RF filter
    Mobile telecommunication devices have been success-            device, an RF filter system, or the like. In an example, this
 fully deployed world-wide. Over a billion mobile devices,         communication filter can be a miniature filter configured for
 including cell phones and smartphones, were manufactured          use in a 2496-2690 MHz wireless frequency spectrum. This
 in a single year and unit volume continues to increase 25 filter can operate concurrently with adjacent 2.4 GHz bands
 year-over-year. With ramp of 4G/LTE in about 2012, and            including Wi-Fi, WLAN, Bluetooth, ISM, and the like.
 explosion of mobile data traffic, data rich content is driving    Depending upon the embodiment, one or more of these
 the growth of the smartphone segment-which is expected            benefits may be achieved.
 to reach 2B per annum within the next few years. Coexis-              A further understanding of the nature and advantages of
 tence of new and legacy standards and thirst for higher data 30 the invention may be realized by reference to the latter
 rate requirements is driving RF complexity in smartphones.        portions of the specification and attached drawings.
 Unfortunately, limitations exist with conventional RF tech-
 nology that is problematic, and may lead to drawbacks in the             BRIEF DESCRIPTION OF THE DRAWINGS
 future.
    From the above, it is seen that techniques for improving 35        In order to more fully understand the present invention,
 electronic devices are highly desirable.                          reference is made to the accompanying drawings. Under-
                                                                   standing that these drawings are not to be considered limi-
         BRIEF SUMMARY OF THE INVENTION                            tations in the scope of the invention, the presently described
                                                                   embodiments and the presently understood best mode of the
    The present invention relates generally to electronic 40 invention are described with additional detail through use of
 devices. More particularly, the present invention provides        the accompanying drawings in which:
 techniques related to bulk acoustic wave resonator devices,           FIG. lA is a simplified diagram illustrating an acoustic
 single crystal bulk acoustic wave resonator devices, single       resonator device having topside interconnections according
 crystal filter and resonator devices, and the like. Merely by     to an example of the present invention.
 way of example, the invention has been applied to a single 45         FIG. lB is a simplified diagram illustrating an acoustic
 crystal resonator device for a communication device, mobile       resonator device having bottom-side interconnections
 device, computing device, among others.                           according to an example of the present invention.
    In an example, the present invention provides a commu-             FIG. lC is a simplified diagram illustrating an acoustic
 nication system using a single crystal acoustic resonator         resonator device having interposer/cap-free structure inter-
 device. The device includes a piezoelectric substrate with a 50 connections according to an example of the present inven-
 piezoelectric layer formed overlying a thinned seed sub-          tion.
 strate. A topside metal electrode is formed overlying the             FIG. lD is a simplified diagram illustrating an acoustic
 substrate. A topside micro-trench is formed within the piezo-     resonator device having interposer/cap-free structure inter-
 electric layer. A topside metal with a topside metal plug is      connections with a shared backside trench according to an
 formed within the topside micro-trench. First and second 55 example of the present invention.
 backside trenches are formed within the seed substrate under          FIGS. 2 and 3 are simplified diagrams illustrating steps
 the topside metal electrode. A backside metal electrode is        for a method of manufacture for an acoustic resonator device
 formed under the seed substrate, within the first backside        according to an example of the present invention.
 trench, and under the topside metal electrode. A backside             FIG. 4A is a simplified diagram illustrating a step for a
 metal plug is formed under the seed substrate, within the 60 method creating a topside micro-trench according to an
 second backside trench, and under the topside micro-trench.       example of the present invention.
 The backside metal plug is connected to the topside metal             FIGS. 4B and 4C are simplified diagrams illustrating
 plug and the backside metal electrode. The topside micro-         alternative methods for conducting the method step of
 trench, the topside metal plug, the second backside trench,       forming a topside micro-trench as described in FIG. 4A.
 and the backside metal plug form a micro-via.                  65     FIGS. 4D and 4E are simplified diagrams illustrating an
    In a specific example, the communication filter can be a       alternative method for conducting the method step of form-
 bandpass RF filter characterized by the following: 50Q            ing a topside micro-trench as described in FIG. 4A.
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    FIGS. 5 to 8 are simplified diagrams illustrating steps for    metal 145 with topside metal plug 146. Solder balls 170 are
 a method of manufacture for an acoustic resonator device          electrically coupled to the one or more top bond pads 143.
 according to an example of the present invention.                    The thinned substrate 112 has the first and second back-
    FIG. 9A is a simplified diagram illustrating a method step     side trenches 113, 114. A backside metal electrode 131 is
 for forming backside trenches according to an example of 5 formed underlying a portion of the thinned seed substrate
 the present invention.                                            112, the first backside trench 113, and the topside metal
    FIGS. 9B and 9C are simplified diagrams illustrating an        electrode 130. The backside metal plug 147 is formed
 alternative method for conducting the method step of form-        underlying a portion of the thinned seed substrate 112, the
 ing backside trenches, as described in FIG. 9A, and simul-        second backside trench 114, and the topside metal 145. This
                                                                10 backside metal plug 147 is electrically coupled to the topside
 taneously singulating a seed substrate according to an
                                                                   metal plug 146 and the backside metal electrode 131. A
 example of the present invention.
                                                                   backside cap structure 161 is bonded to the thinned seed
    FIG. 10 is a simplified diagram illustrating a method step
                                                                   substrate 112, underlying the first and second backside
 forming backside metallization and electrical interconnec-        trenches 113, 114. Further details relating to the method of
 tions between top and bottom sides of a resonator according 15 manufacture of this device will be discussed starting from
 to an example of the present invention.                           FIG. 2.
    FIGS. llA and 11B are simplified diagrams illustrating            FIG. 1B is a simplified diagram illustrating an acoustic
 alternative steps for a method of manufacture for an acoustic     resonator device 102 having backside interconnections
 resonator device according to an example of the present           according to an example of the present invention. As shown,
 invention.                                                     20 device 101 includes a thinned seed substrate 112 with an
    FIGS. 12A to 12E are simplified diagrams illustrating          overlying piezoelectric layer 120, which has a micro-via
 steps for a method of manufacture for an acoustic resonator       129. The micro-via 129 can include a topside micro-trench
 device using a blind via interposer according to an example       121, a topside metal plug 146, a backside trench 114, and a
 of the present invention.                                         backside metal plug 147. Although device 102 is depicted
    FIG. 13 is a simplified diagram illustrating a step for a 25 with a single micro-via 129, device 102 may have multiple
 method of manufacture for an acoustic resonator device            micro-vias. A topside metal electrode 130 is formed over-
 according to an example of the present invention.                 lying the piezoelectric layer 120. A top cap structure is
    FIGS. 14A to 14G are simplified diagrams illustrating          bonded to the piezoelectric layer 120. This top cap structure
 method steps for a cap wafer process for an acoustic              119 includes bond pads which are connected to one or more
 resonator device according to an example of the present 30 bond pads 144 and topside metal 145 on piezoelectric layer
 invention.                                                        120. The topside metal 145 includes a topside metal plug
    FIGS. 15A-15E are simplified diagrams illustrating             146.
 method steps for making an acoustic resonator device with            The thinned substrate 112 has the first and second back-
 shared backside trench, which can be implemented in both          side trenches 113, 114. A backside metal electrode 131 is
 interposer/cap and interposer free versions, according to 35 formed underlying a portion of the thinned seed substrate
 examples of the present invention.                                112, the first backside trench 113, and the topside metal
    FIG. 16 is a simplified block diagram illustrating a           electrode 130. A backside metal plug 147 is formed under-
 communications system using an one or more communica-             lying a portion of the thinned seed substrate 112, the second
 tion filter devices according to an example of the present        backside trench 114, and the topside metal plug 146. This
 invention.                                                     40 backside metal plug 147 is electrically coupled to the topside
                                                                   metal plug 146. A backside cap structure 162 is bonded to
             DETAILED DESCRIPTION OF THE                           the thinned seed substrate 112, underlying the first and
                          INVENTION                                second backside trenches. One or more backside bond pads
                                                                   (171, 172, 173) are formed within one or more portions of
    The present invention relates generally to electronic 45 the backside cap structure 162. Solder balls 170 are electri-
 devices. More particularly, the present invention provides        cally coupled to the one or more backside bond pads
 techniques related to bulk acoustic wave resonator devices,       171-173. Further details relating to the method of manufac-
 single crystal bulk acoustic wave resonator devices, single       ture of this device will be discussed starting from FIG. 14A.
 crystal filter and resonator devices, and the like. Merely by        FIG. lC is a simplified diagram illustrating an acoustic
 way of example, the invention has been applied to a single 50 resonator device having interposer/cap-free structure inter-
 crystal resonator device for a communication device, mobile       connections according to an example of the present inven-
 device, computing device, among others.                           tion. As shown, device 103 includes a thinned seed substrate
    FIG. lA is a simplified diagram illustrating an acoustic       112 with an overlying single crystal piezoelectric layer 120,
 resonator device 101 having topside interconnections              which has a micro-via 129. The micro-via 129 can include
 according to an example of the present invention. As shown, 55 a topside micro-trench 121, a topside metal plug 146, a
 device 101 includes a thinned seed substrate 112 with an          backside trench 114, and a backside metal plug 147.
 overlying single crystal piezoelectric layer 120, which has a     Although device 103 is depicted with a single micro-via 129,
 micro-via 129. The micro-via 129 can include a topside            device 103 may have multiple micro-vias. A topside metal
 micro-trench 121, a topside metal plug 146, a backside            electrode 130 is formed overlying the piezoelectric layer
 trench 114, and a backside metal plug 147. Although device 60 120. The thinned substrate 112 has the first and second
 101 is depicted with a single micro-via 129, device 101 may       backside trenches 113, 114. A backside metal electrode 131
 have multiple micro-vias. A topside metal electrode 130 is        is formed underlying a portion of the thinned seed substrate
 formed overlying the piezoelectric layer 120. A top cap           112, the first backside trench 113, and the topside metal
 structure is bonded to the piezoelectric layer 120. This top      electrode 130. A backside metal plug 147 is formed under-
 cap structure includes an interposer substrate 119 with one 65 lying a portion of the thinned seed substrate 112, the second
 or more through-vias 151 that are connected to one or more        backside trench 114, and the topside metal 145. This back-
 top bond pads 143, one or more bond pads 144, and topside         side metal plug 147 is electrically coupled to the topside
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 metal plug 146 and the backside metal electrode 131.                   FIG. 4A is a simplified diagram illustrating a step for a
 Further details relating to the method of manufacture of this       method of manufacture for an acoustic resonator device 401
 device will be discussed starting from FIG. 2.                      according to an example of the present invention. This figure
    FIG. lD is a simplified diagram illustrating an acoustic         can represent a method step of forming one or more topside
 resonator device having interposer/cap-free structure inter- 5 micro-trenches 121 within a portion of the piezoelectric
 connections with a shared backside trench according to an           layer 120. This topside micro-trench 121 can serve as the
 example of the present invention. As shown, device 104              main interconnect junction between the top and bottom sides
 includes a thinned seed substrate 112 with an overlying             of the acoustic membrane, which will be developed in later
 single crystal piezoelectric layer 120, which has a micro-via       method steps. In an example, the topside micro-trench 121
 129. The micro-via 129 can include a topside micro-trench 10
                                                                     is extends all the way through the piezoelectric layer 120 and
 121, a topside metal plug 146, and a backside metal 147.
                                                                     stops in the seed substrate 110. This topside micro-trench
 Although device 104 is depicted with a single micro-via 129,
                                                                     121 can be formed through a dry etching process, a laser
 device 104 may have multiple micro-vias. A topside metal
 electrode 130 is formed overlying the piezoelectric layer           drilling process, or the like. FIGS. 4B and 4C describe these
 120. The thinned substrate 112 has a first backside trench 15 options in more detail.
 113. A backside metal electrode 131 is formed underlying a             FIGS. 4B and 4C are simplified diagrams illustrating
 portion of the thinned seed substrate 112, the first backside       alternative methods for conducting the method step as
 trench 113, and the topside metal electrode 130. A backside         described in FIG. 4A. As shown, FIG. 4B represents a
 metal 147 is formed underlying a portion of the thinned seed        method step of using a laser drill, which can quickly and
 substrate 112, the second backside trench 114, and the 20 accurately form the topside micro-trench 121 in the piezo-
 topside metal 145. This backside metal 147 is electrically          electric layer 120. In an example, the laser drill can be used
 coupled to the topside metal plug 146 and the backside metal        to form nominal 50 um holes, or holes between 10 um and
 electrode 131. Further details relating to the method of            500 um in diameter, through the piezoelectric layer 120 and
 manufacture of this device will be discussed starting from          stop in the seed substrate 110 below the interface between
 FIG. 2.                                                          25 layers 120 and 110. A protective layer 122 can be formed
    FIGS. 2 and 3 are simplified diagrams illustrating steps         overlying the piezoelectric layer 120 and the topside metal
 for a method of manufacture for an acoustic resonator device        electrode 130. This protective layer 122 can serve to protect
 according to an example of the present invention. This              the device from laser debris and to provide a mask for the
 method illustrates the process for fabricating an acoustic          etching of the topside micro-via 121. In a specific example,
 resonator device similar to that shown in FIG. lA. FIG. 2 30 the laser drill can be an 11 W high power diode-pumped UV
 can represent a method step of providing a partially pro-           laser, or the like. This mask 122 can be subsequently
 cessed piezoelectric substrate. As shown, device 102                removed before proceeding to other steps. The mask may
 includes a seed substrate 110 with a piezoelectric layer 120        also be omitted from the laser drilling process, and air flow
 formed overlying. In a specific example, the seed substrate         can be used to remove laser debris.
 can include silicon, silicon carbide, aluminum oxide, or 35            FIG. 4C can represent a method step of using a dry
 single crystal aluminum gallium nitride materials, or the           etching process to form the topside micro-trench 121 in the
 like. The piezoelectric layer 120 can include a piezoelectric       piezoelectric layer 120. As shown, a lithographic masking
 single crystal layer or a thin film piezoelectric single crystal    layer 123 can be forming overlying the piezoelectric layer
 layer.                                                              120 and the topside metal electrode 130. The topside micro-
    FIG. 3 can represent a method step of forming a top side 40 trench 121 can be formed by exposure to plasma, or the like.
 metallization or top resonator metal electrode 130. In a               FIGS. 4D and 4E are simplified diagrams illustrating an
 specific example, the topside metal electrode 130 can               alternative method for conducting the method step as
 include a molybdenum, aluminum, ruthenium, or titanium              described in FIG. 4A. These figures can represent the
 material, or the like and combinations thereof. This layer can      method step of manufacturing multiple acoustic resonator
 be deposited and patterned on top of the piezoelectric layer 45 devices simultaneously. In FIG. 4D, two devices are shown
 by a lift-off process, a wet etching process, a dry etching         on Die #1 and Die #2, respectively. FIG. 4E shows the
 process, a metal printing process, a metal laminating pro-          process of forming a micro-via 121 on each of these dies
 cess, or the like. The lift-off process can include a sequential    while also etching a scribe line 124 or dicing line. In an
 process of lithographic patterning, metal deposition, and           example, the etching of the scribe line 124 singulates and
 lift-off steps to produce the topside metal layer. The wet/dry 50 relieves stress in the piezoelectric single crystal layer 120.
 etching processes can includes sequential processes of metal           FIGS. 5 to 8 are simplified diagrams illustrating steps for
 deposition, lithographic patterning, metal deposition, and          a method of manufacture for an acoustic resonator device
 metal etching steps to produce the topside metal layer. Those       according to an example of the present invention. FIG. 5 can
 of ordinary skill in the art will recognize other variations,       represent the method step of forming one or more bond pads
 modifications, and alternatives.                                 55 140 and forming a topside metal 141 electrically coupled to
    In an example, the method can further include forming a          at least one of the bond pads 140. The topside metal 141 can
 dielectric layer overlying the top metal electrode 130 and the      include a topside metal plug 146 formed within the topside
 piezoelectric layer 120. This layer can include Silicon             micro-trench 121. In a specific example, the topside metal
 Nitride (SiN), Silicon Dioxide (SiO 2 ), or the like. In a          plug 146 fills the topside micro-trench 121 to form a topside
 specific example, the dielectric layer may include a stack of 60 portion of a micro-via.
 SiN and SiO 2 layers or a combination of other types of                In an example, the bond pads 140 and the topside metal
 dielectric layers. Prior to the steps of FIGS. 5-8, "vias" may      141 can include a gold material or other interconnect metal
 be opened up to provide a path for other interconnect metals        material depending upon the application of the device. These
 or electrodes to connect to the top metal electrode 130. This       metal materials can be formed by a lift-off process, a wet
 process may also be applied to other interconnect metals and 65 etching process, a dry etching process, a screen-printing
 electrodes implemented on the bottom side of the acoustic           process, an electroplating process, a metal printing process,
 resonator device as well.                                           or the like. In a specific example, the deposited metal
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 materials can also serve as bond pads for a cap structure,        formed with a trench shape similar to a shape of the topside
 which will be described below.                                    metal electrode or a shape of the backside metal electrode.
    In an example, the method can further include forming a        The first backside trench may also be formed with a trench
 dielectric layer overlying the top metal electrode 130, the       shape that is different from both a shape of the topside metal
 bond pad 140, the topside metal 141, the topside metal plug 5 electrode and the backside metal electrode.
 146, and the piezoelectric layer 120. This layer may service         FIGS. 9B and 9C are simplified diagrams illustrating an
 as a passivation/protection layer and can include Silicon         alternative method for conducting the method step as
 Nitride (SiN), Silicon Dioxide (SiO 2 ), or the like. In a        described in FIG. 9A. Like FIGS. 4D and 4E, these figures
 specific example, the dielectric layer may include a stack of     can represent the method step of manufacturing multiple
 SiN and SiO 2 layers or a combination of other types of 10 acoustic resonator devices simultaneously. In FIG. 9B, two
 dielectric layers. Similar to before, "vias" may be opened up     devices with cap structures are shown on Die #1 and Die #2,
 to provide a path for other interconnect metals or electrodes     respectively. FIG. 9C shows the process of forming backside
 to connect to any of the above-mentioned interconnect             trenches (113, 114) on each of these dies while also etching
 metals, electrodes, or bond pads. This process may also be        a scribe line 115 or dicing line. In an example, the etching
 applied to other interconnect metals, electrodes, and bond 15 of the scribe line 115 provides an optional way to singulate
 pads on the bottom side of the acoustic resonator device as       the backside wafer 112.
 well.                                                                FIG. 10 is a simplified diagram illustrating a step for a
    FIG. 6 can represent a method step for preparing the           method of manufacture for an acoustic resonator device
 acoustic resonator device for bonding, which can be a             1000 according to an example of the present invention. This
 hermetic bonding. As shown, a top cap structure is posi- 20 figure can represent a method step of forming a backside
 tioned above the partially processed acoustic resonator           metal electrode 131 and a backside metal plug 147 within
 device as described in the previous figures. The top cap          the backside trenches of the thinned seed substrate 112. In an
 structure can be formed using an interposer substrate 119 in      example, the backside metal electrode 131 can be formed
 two configurations: fully processed interposer version 601        underlying one or more portions of the thinned substrate
 (through glass via) and partially processed interposer ver- 25 112, within the first backside trench 113, and underlying the
 sion 602 (blind via version). In the 601 version, the inter-      topside metal electrode 130. This process completes the
 poser substrate 119 includes through-via structures 151 that      resonator structure within the acoustic resonator device. The
 extend through the interposer substrate 119 and are electri-      backside metal plug 147 can be formed underlying one or
 cally coupled to bottom bond pads 142 and top bond pads           more portions of the thinned substrate 112, within the second
 143. In the 602 version, the interposer substrate 119 includes 30 backside trench 114, and underlying the topside micro-
 blind via structures 152 that only extend through a portion       trench 121. The backside metal plug 147 can be electrically
 of the interposer substrate 119 from the bottom side. These       coupled to the topside metal plug 146 and the backside metal
 blind via structures 152 are also electrically coupled to         electrode 131. In a specific example, the backside metal
 bottom bond pads 142. In a specific example, the interposer       electrode 130 can include a molybdenum, aluminum, ruthe-
 substrate can include a silicon, glass, smart-glass, or other 35 nium, or titanium material, or the like and combinations
 like material.                                                    thereof. The backside metal plug can include a gold material,
    FIG. 7 can represent a method step of bonding the top cap      low resistivity interconnect metals, electrode metals, or the
 structure to the partially processed acoustic resonator           like. These layers can be deposited using the deposition
 device. As shown, the interposer substrate 119 is bonded to       methods described previously.
 the piezoelectric layer by the bond pads (140, 142) and the 40       FIGS. llA and llB are simplified diagrams illustrating
 topside metal 141, which are now denoted as bond pad 144          alternative steps for a method of manufacture for an acoustic
 and topside metal 145. This bonding process can be done           resonator device according to an example of the present
 using a compression bond method or the like. FIG. 8 can           invention. These figures show methods of bonding a back-
 represent a method step of thinning the seed substrate 110,       side cap structure underlying the thinned seed substrate 112.
 which is now denoted as thinned seed substrate 111. This 45 In FIG. llA, the backside cap structure is a dry film cap 161,
 substrate thinning process can include grinding and etching       which can include a permanent photo-imageable dry film
 processes or the like. In a specific example, this process can    such as a solder mask, polyimide, or the like. Bonding this
 include a wafer backgrinding process followed by stress           cap structure can be cost-effective and reliable, but may not
 removal, which can involve dry etching, CMP polishing, or         produce a hermetic seal. In FIG. llB, the backside cap
 annealing processes.                                           50 structure is a substrate 162, which can include a silicon,
    FIG. 9A is a simplified diagram illustrating a step for a      glass, or other like material. Bonding this substrate can
 method of manufacture for an acoustic resonator device 901        provide a hermetic seal, but may cost more and require
 according to an example of the present invention. FIG. 9A         additional processes. Depending upon application, either of
 can represent a method step for forming backside trenches         these backside cap structures can be bonded underlying the
 113 and 114 to allow access to the piezoelectric layer from 55 first and second backside vias.
 the backside of the thinned seed substrate 111. In an                FIGS. 12A to 12E are simplified diagrams illustrating
 example, the first backside trench 113 can be formed within       steps for a method of manufacture for an acoustic resonator
 the thinned seed substrate 111 and underlying the topside         device according to an example of the present invention.
 metal electrode 130. The second backside trench 114 can be        More specifically, these figures describe additional steps for
 formed within the thinned seed substrate 111 and underlying 60 processing the blind via interposer "602" version of the top
 the topside micro-trench 121 and topside metal plug 146.          cap structure. FIG. 12A shows an acoustic resonator device
 This substrate is now denoted thinned substrate 112. In a         1201 with blind vias 152 in the top cap structure. In FIG.
 specific example, these trenches 113 and 114 can be formed        12B, the interposer substrate 119 is thinned, which forms a
 using deep reactive ion etching (DRIE) processes, Bosch           thinned interposer substrate 118, to expose the blind vias
 processes, or the like. The size, shape, and number of the 65 152. This thinning process can be a combination of a
 trenches may vary with the design of the acoustic resonator       grinding process and etching process as described for the
 device. In various examples, the first backside trench may be     thinning of the seed substrate. In FIG. 12C, a redistribution
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 layer (RDL) process and metallization process can be              substrate. In a specific example, the temporary carrier 218
 applied to create top cap bond pads 160 that are formed           can include a glass wafer, a silicon wafer, or other wafer and
 overlying the blind vias 152 and are electrically coupled to      the like.
 the blind vias 152. As shown in FIG. 12D, a ball grid array          FIGS. 15B to 15F depict method steps similar to those
 (BGA) process can be applied to form solder balls 170 5 described in the first process flow. FIG. 15B can represent a
 overlying and electrically coupled to the top cap bond pads       method step of thinning the seed substrate 110, which forms
 160. This process leaves the acoustic resonator device ready      a thinned substrate 111, similar to that described in FIG. 8.
 for wire bonding 171, as shown in FIG. 12E.                       In a specific example, the thinning of the seed substrate 110
    FIG. 13 is a simplified diagram illustrating a step for a      can include a back side grinding process followed by a stress
                                                                10 removal process. The stress removal process can include a
 method of manufacture for an acoustic resonator device
                                                                   dry etch, a Chemical Mechanical Planarization (CMP), and
 according to an example of the present invention. As shown,
                                                                   annealing processes.
 device 1300 includes two fully processed acoustic resonator
                                                                      FIG. 15C can represent a method step of forming a shared
 devices that are ready to singulation to create separate          backside trench 113, similar to the techniques described in
 devices. In an example, the die singulation process can be 15 FIG. 9A. The main difference is that the shared backside
 done using a wafer dicing saw process, a laser cut singula-       trench is configured underlying both topside metal electrode
 tion process, or other processes and combinations thereof.        130, topside micro-trench 121, and topside metal plug 146.
    FIGS. 14A to 14G are simplified diagrams illustrating          In an example, the shared backside trench 113 is a backside
 steps for a method of manufacture for an acoustic resonator       resonator cavity that can vary in size, shape (all possible
 device according to an example of the present invention. 20 geometric shapes), and side wall profile (tapered convex,
 This method illustrates the process for fabricating an acous-     tapered concave, or right angle). In a specific example, the
 tic resonator device similar to that shown in FIG. 1B. The        forming of the shared backside trench 113 can include a
 method for this example of an acoustic resonator can go           litho-etch process, which can include a back-to-front align-
 through similar steps as described in FIGS. 1-5. FIG. 14A         ment and dry etch of the backside substrate 111. The
 shows where this method differs from that described previ- 25 piezoelectric layer 120 can serve as an etch stop layer for the
 ously. Here, the top cap structure substrate 119 and only         forming of the shared backside trench 113.
 includes one layer of metallization with one or more bottom          FIG. 15D can represent a method step of forming a
 bond pads 142. Compared to FIG. 6, there are no via               backside metal electrode 131 and a backside metal 147,
 structures in the top cap structure because the interconnec-      similar to that described in FIG. 10. In an example, the
                                                                30 forming of the backside metal electrode 131 can include a
 tions will be formed on the bottom side of the acoustic
                                                                   deposition and patterning of metal materials within the
 resonator device.
                                                                   shared backside trench 113. Here, the backside metal 131
    FIGS. 14B to 14F depict method steps similar to those
                                                                   serves as an electrode and the backside plug/connect metal
 described in the first process flow. FIG. 14B can represent a
                                                                   147 within the micro-via 121. The thickness, shape, and type
 method step of bonding the top cap structure to the piezo- 35 of metal can vary as a function of the resonator/filter design.
 electric layer 120 through the bond pads (140, 142) and the       As an example, the backside electrode 131 and via plug
 topside metal 141, now denoted as bond pads 144 and               metal 147 can be different metals. In a specific example,
 topside metal 145 with topside metal plug 146. FIG. 14C can       these backside metals 131, 147 can either be deposited and
 represent a method step of thinning the seed substrate 110,       patterned on the surface of the piezoelectric layer 120 or
 which forms a thinned seed substrate 111, similar to that 40 rerouted to the backside of the substrate 112. In an example,
 described in FIG. 8. FIG. 14D can represent a method step         the backside metal electrode may be patterned such that it is
 of forming first and second backside trenches, similar to that    configured within the boundaries of the shared backside
 described in FIG. 9A. FIG. 14E can represent a method step        trench such that the backside metal electrode does not come
 of forming a backside metal electrode 131 and a backside          in contact with one or more side-walls of the seed substrate
 metal plug 147, similar to that described in FIG. 10. FIG. 45 created during the forming of the shared backside trench.
 14F can represent a method step of bonding a backside cap            FIG. 15E can represent a method step of bonding a
 structure 162, similar to that described in FIGS. llA and         backside cap structure 162, similar to that described in
 11B.                                                              FIGS. llA and 11B, following a de-bonding of the tempo-
    FIG. 14G shows another step that differs from the previ-       rary carrier 218 and cleaning of the topside of the device to
 ously described process flow. Here, the backside bond pads 50 remove the temporary adhesive 217. Those of ordinary skill
 171, 172, and 173 are formed within the backside cap              in the art will recognize other variations, modifications, and
 structure 162. In an example, these backside bond pads            alternatives of the methods steps described previously.
 171-173 can be formed through a masking, etching, and                According to an example, the present invention includes
 metal deposition processes similar to those used to form the      a method for forming a piezoelectric layer to fabricate an
 other metal materials. A BGA process can be applied to form 55 acoustic resonator device. More specifically, the present
 solder balls 170 in contact with these backside bond pads         method includes forming a single crystal material to be used
 171-173, which prepares the acoustic resonator device 1407        to fabricate the acoustic resonator device. By modifying the
 for wire bonding.                                                 strain state of the III-Nitride (III-N) crystal lattice, the
    FIGS. 15A to 15E are simplified diagrams illustrating          present method can change the piezoelectric properties of
 steps for a method of manufacture for an acoustic resonator 60 the single crystal material to adjust the acoustic properties of
 device according to an example of the present invention.          subsequent devices fabricated from this material. In a spe-
 This method illustrates the process for fabricating an acous-     cific example, the method for forming the strained single
 tic resonator device similar to that shown in FIG. 1B. The        crystal material can include modification of growth condi-
 method for this example can go through similar steps as           tions of individual layers by employing one or a combina-
 described in FIG. 1-5. FIG. 15A shows where this method 65 tion of the following parameters; gas phase reactant ratios,
 differs from that described previously. A temporary carrier       growth pressure, growth temperature, and introduction of
 218 with a layer of temporary adhesive 217 is attached to the     impurities.
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    In an example, the single crystal material is grown epi-          connected to the antenna 1610 and an LNA 1660 is config-
 taxially upon a substrate. Methods for growing the single            ured for the receive side. The number of filters and switches
 crystal material can include metal-organic chemical vapor            can vary depending on the number of bands supported and
 deposition (MOCVD), molecular beam epitaxy (MBE),                    other tradeoffs. Those of ordinary skill in the art will
 hydride vapor phase epitaxy (HYPE), atomic layer deposi- 5 recognize other variations, modifications, and alternatives.
 tion (ALD), or the like. Various process conditions can be              In an example, the duplexers and filters module 1620 can
 selectively varied to change the piezoelectric properties of         include one or more single crystal acoustic resonators
 the single crystal material. These process conditions can            devices. Each of these device can include a piezoelectric
 include temperature, pressure, layer thickness, gas phase            substrate with a piezoelectric layer formed overlying a
 ratios, and the like. For example, the temperature conditions 10
                                                                      thinned seed substrate. A topside metal electrode is formed
 for films containing aluminum (Al) and gallium (Ga) and
                                                                      overlying the substrate. A topside micro-trench is formed
 their alloys can range from about 800 to about 1500 degrees
                                                                      within the piezoelectric layer. A topside metal with a topside
 Celsius. The temperature conditions for films containing Al,
 Ga, and indium (In) and their alloys can range from about            metal plug is formed within the topside micro-trench. First
 600 to about 1000 degrees Celsius. In another example, the 15 and second backside trenches are formed within the seed
 pressure conditions for films containing Al, Ga, and In and          substrate under the topside metal electrode. A backside
 their alloys can range from about lE-4 Torr to about 900             metal electrode is formed under the seed substrate, within
 Torr.                                                                the first backside trench, and under the topside metal elec-
    FIG. 16 is a simplified block diagram illustrating a              trode. A backside metal plug is formed under the seed
 communications system using an one or more communica- 20 substrate, within the second backside trench, and under the
 tion filter devices according to an example of the present           topside micro-trench. The backside metal plug is connected
 invention. As shown, communications system 1600 includes             to the topside metal plug and the backside metal electrode.
 an antenna 1610 connected is series to a switch bank 1620            The topside micro-trench, the topside metal plug, the second
 and filter (or bank of filters) 1630. This filter 1630 is            backside trench, and the backside metal plug form a micro-
 connected to a pair of switches (or switch banks) 1641, 25 vrn.
 1642. The first switch 1641 is connected to a power amplifier           In a specific example, the communication filter can be a
 (or bank of PA's) 1650, while the second switch 1642 is              bandpass RF filter characterized by the following: 50Q
 connected to a low noise amplifier (or bank or LNA's) 1660.          input/output, no external matching requirement, low inser-
 This system 1600 is configured for both transmit and receive         tion loss, high interference rejection, -20° C. to +85° C.
 paths.                                                            30 operation, +31 dBm absolute max input power, 2.0xl.6 mm
    In a communications system, filters are required in both          footprint, 0.90 mm max height, RoHS 6 compliant, halogen
 the transmit and receive paths. However, these paths can be          free, and Tetrabromobisphenal A (TBBPA) free. This filter
 implemented separately or together, i.e., a transceiver chip.        can be used in smartphones, tablets, Internet of things (IoT),
 Depending on the complexity of the system architecture,              and other mobile or portable communication devices. Those
 switches or banks of switches can be used to control the 35 of ordinary skill in the art will recognize other variations,
 signal flow through different paths both in and out. Gener-          modifications, and alternatives.
 ally, any of the filters 1630 that is electrically connected to         The following table provides the electrical specifications
 the antenna 1610 and a PA 1650 is configured for the                 for a communication filter according to an example of the
 transmit side, while any of the filters 1630 that is electrically    present invention:

                                                                                              SPECIFICATIONS
                                                       Electrical Specifications[ll, Z 0 ~ 50 Q, T c[2 l -20° C. to +85° C., unless otheiwise specified

                                                      Symbol Parameter                                         Units   Min.    Typ.[3J       Max.

                                                      S21       Insertion Loss, Band 41                          dB
                                                                2496-2500 MHz (+25° C.)                                           2.8
                                                                2496-2500 MHz (-20° C. to -5° C.)                                             3.9
                                                                2496-2500 MHz (-5° C. to +85° C.)                                             3.7
                                                                2500-2520 MHz (+25° C.)                                           2.4         3.3
                                                                2500-2520 MHz (-20° C. to +85° C.)                                            3.8
                                                                2520-2680 MHz (+25° C.)                                           2.0         3.0
                                                                2520-2680 MHz (-20° C. to +85° C.)                                            3.2
                                                                2680-2690 MHz (+25° C.)                                           2.2         3.6
                                                                2680-2690 MHz (-20° C. to +85° C.)                                            3.8
                                                      S21       Attenuation, 0-699 MHz                           dB      35     76
                                                      S21       Attenuation, 699-916 MHz                         dB      35     56
                                                      S21       Attenuation, 916-1348 MHz                        dB      25     47
                                                      S21       Attenuation, 1248-1565 MHz                       dB      25     35
                                                      S21       Attenuation, 1565-1615 MHz                       dB      30     40
                                                      S21       Attenuation, 1615-1660 MHz                       dB      25     34
                                                      S21       Attenuation, 1660-1750 MHz                       dB      18     27
                                                      S21       Attenuation, 1750-2400 MHz                       dB      12     22
                                                      S21       Attenuation, Wi-Fi 802.11 b/g/n Band[4 l         dB
                                                                2401-2453 MHz (Wi-Fi Ch 1-7)                             35     45
                                                                2436-2468 MHz (Wi-Fi Ch 8-10)                            35     44
                                                                2451-2473 MHz (Wi-Fi Ch 11)                              30     44
                                                                2456-2478 MHz (Wi-Fi Ch 12)                                     30
                                                                2461-2483 MHz (Wi-Fi Ch 13)                                     18
                                                      S21       Attenuation, 2750-2850 MHz                       dB      20     37
                                                      S21       Attenuation, 2850-3000 MHz                       dB      18     28
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                                               -continued

                                        SPECIFICATIONS
 Electrical Specifications[ll, Z 0 ~ 50 Q, T c[2 l -20° C. to +85° C., unless otheiwise specified

 Symbol     Parameter                                            Units    Min.     Typ_[3J        Max.

 S21        Attenuation, 3000-4992 MHz                            dB       20        27
 S21        Attenuation, 4992-5380 MHz                            dB       24        32
 S21        Attenuation, 5380-7488 MHz                            dB       20        32
 S21        Attenuation, 7488-8070 MHz                            dB       20        30
 Sll,       Return Loss (SWR), 2496-2690 MHz                      dB        8        16           (2.3)
 S22                                                                                (1.4)

 Notes:
 [l]Min./Max. specifications are guaranteed at the indicated temperature, unless otherwise noted.
  2
 [ 1TC is the case temperature and is defined as the temperature of the underside of the filter where it makes
 contact with the circuit board.
  3
 [ lTypical data is the average value (arithmetic mean) of the parameter over the indicated band at +25° C.
 [4lWi-Fi Channel Average Attenuation, which is obtained by averaging [S21] over the center 19 MHz of the
 channels and converting to dB value.



     The following table provides the absolute maximum                                            While the above is a full description of the specific
 ratings for a communication filter according to an example 20 embodiments, various modifications, alternative construc-
 of the present invention:                                                                     tions and equivalents may be used. As an example, the
                                                                                               packaged device can include any combination of elements
                                                                                               described above, as well as outside of the present specifi-
                       ABSOLUTE MAXIMUM RATINGS[!]                                             cation. As used herein, the term "substrate" can mean the
                                                                                            25 bulk substrate or can include overlying growth structures
 Parameter                                                              Unit       Value
                                                                                               such as an aluminum, gallium, or ternary compound of
 Storage temperature                                                              -40 to       aluminum and gallium and nitrogen containing epitaxial
                                                                                   +125        region, or functional regions, combinations, and the like.
 Maximum RF Input Power to Pin 1 (Tx)l2l                                dBm         +31
 Maximum DC Voltage, any Pin to Gnd or between Pins[ l Vnc           3                0        Therefore, the above description and illustrations should not
                                                                                            30 be taken as limiting the scope of the present invention which
 Notes:                                                                                        is defined by the appended claims.
 [Iloperation in excess of any one of these conditions may result in permanent damage to
 the device.                                                                                      What is claimed is:
 [l]The ACPF-7141 is not symmetrical. Pin 1 is designed for higher power handling and is          1. A communication filter device comprising:
 intended to be connected to the Tx blocks with Pin 2 connected to the system antenna.
 [3l1nternal DC resistance of any port to ground or between ports is approximately a short        a piezoelectric substrate having a substrate surface region,
 circuit.
                                                                                            35       the piezoelectric substrate having a piezoelectric layer
     The following table provides the maximum recommended                                            formed overlying a thinned seed substrate;
 operating conditions for a communication filter according to                                     a topside metal electrode formed overlying a portion of
 an example of the present invention:                                                                the substrate surface region;
                                                                                                  a topside micro-trench formed within a portion of the
                                                                                            40       piezoelectric layer;
        MAXIMUM RECOMMENDED OPERATING CONDITIONs[4 l                                              one or more bond pads formed overlying one or more
                                                                                                     portions of the piezoelectric layer;
 Parameter                                              Unit              Value
                                                                                                  a topside metal having a topside metal plug formed within
 Operating temperature, Tc[5 l                                         -30 to +85                    the topside micro-trench and electrically coupled to at
                                                                                            45       least one of the bond pads;
 Notes:
  4
 [ lThe device will function over the recommended range without degradation in reliability
                                                                                                  a first backside trench formed within the thinned seed
 or permanent change in performance, but is not guaranteed to meet electrical specifica-             substrate and underlying the topside metal electrode;
 tions.
 [5lTC is defined as case temperature, the temperature of the underside of the filter where       a second backside trench formed within the thinned seed
 it makes contact with the circuit board.
                                                                                                     substrate and underlying the topside micro-trench;
     One or more benefits are achieved over pre-existing 50                                       a backside metal electrode formed underlying one or more
 techniques using the invention. In particular, the present                                          portions of the thinned seed substrate, within the first
 device can be manufactured in a relatively simple and cost                                          backside trench, and underlying the topside metal elec-
 effective manner while using conventional materials and/or                                          trode; and
 methods according to one of ordinary skill in the art. Using                                     a backside metal plug formed underlying one or more
 the present method, one can create a reliable single crystal 55                                     portions of the thinned seed substrate, within the sec-
 based acoustic filter or resonator using multiple ways of                                           ond backside trench, and underlying the topside micro-
 three-dimensional stacking through a wafer level process.                                           trench, the backside metal plug being electrically
 Such single crystal acoustic resonators enable high band-                                           coupled to the topside metal plug and the backside
 width-low loss filters in a miniature form factor, and such                                         metal electrode, wherein the topside micro-trench, the
 filters or resonators can be implemented in an RF filter 60                                         topside metal plug, the second backside trench, and the
 device, an RF filter system, or the like. In an example, this                                       backside metal plug form a micro-via.
 communication filter can be a miniature filter configured for                                    2. The device of claim 1 wherein the seed substrate
 use in a 2496-2690 MHz wireless frequency spectrum. This                                      includes silicon, silicon carbide, aluminum oxide, or single
 filter can operate concurrently with adjacent 2.4 GHz bands                                   crystal aluminum gallium nitride materials.
 including Wi-Fi, WLAN, Bluetooth, ISM, and the like. 65                                          3. The device of claim 1 wherein the topside and backside
 Depending upon the embodiment, one or more of these                                           metal electrodes include molybdenum, aluminum, ruthe-
 benefits may be achieved.                                                                     nium, or titanium materials, or combinations thereof; and
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 wherein the topside metal, the topside metal plug, and the            a backside cap structure bonded to the thinned seed
 backside metal plug includes gold materials or other inter-              substrate, the backside cap structure underlying the first
 connect materials.                                                       and second backside trenches;
    4. The device of claim 1 further comprising a top cap              one or more top bond pads formed overlying and electri-
 structure bonded to the piezoelectric substrate, the top cap 5           cally coupled to the one or more blind vias; and
 structure including an interposer substrate with one or more          one or more solder balls formed overlying the one or more
 through-via structures electrically coupled to one or more               top bond pads.
 top bond pads and one or more bottom bond pads;                       9. The device of claim 8 wherein the seed substrate
    wherein the one or more bottom bond pads are electrically       includes silicon, silicon carbide, aluminum oxide, or single
                                                                 10
       coupled to the one or more bond pads and the topside         crystal aluminum gallium nitride materials.
       metal;                                                          10. The device of claim 8 wherein the topside and
    further comprising a backside cap structure bonded to the       backside metal electrodes include molybdenum, aluminum,
       thinned seed substrate, the backside cap structure           ruthenium, or titanium materials, or combinations thereof;
       underlying the first and second backside trenches; and 15 and wherein the topside metal, the topside metal plug, and
    further comprising one or more solder balls formed over-        the backside metal plug include gold materials or other
       lying the one or more top bond pads.                         interconnect materials.
    5. The device of claim 4 wherein the backside cap                  11. The device of claim 8 wherein the backside cap
 structure includes a seed substrate, a glass substrate, or an      structure includes a seed substrate, a glass substrate, or a
 interposer substrate.                                           20 interposer substrate.
    6. The device of claim 1 wherein the first backside trench         12. A communication filter device comprising:
 has a trench shape similar to a shape of the topside metal            a piezoelectric substrate having a substrate surface region,
 electrode; or                                                            the piezoelectric substrate having a piezoelectric layer
    wherein the first backside trench has a trench shape                  formed overlying a thinned seed substrate;
       similar to a shape of the backside metal electrode.       25    a topside metal electrode formed overlying a portion of
    7. The device of claim 1 wherein the first backside trench            the substrate surface region;
 has a trench shape different from both a shape of the topside         a topside micro-trench formed within a portion of the
 metal electrode and the backside metal electrode.                        piezoelectric layer;
    8. A communication filter device comprising:                       one or more bond pads formed overlying one or more
    a piezoelectric substrate having a substrate surface region, 30       portions of the piezoelectric layer;
                                                                       a topside metal having a topside metal plug formed within
       the piezoelectric substrate having a piezoelectric layer
                                                                          the topside micro-trench and electrically coupled to at
       formed overlying a thinned seed substrate;
                                                                          least one of the bond pads;
    a topside metal electrode formed overlying a portion of
                                                                       a top cap structure bonded to the piezoelectric substrate,
       the substrate surface region;                             35       the top cap structure including a substrate with one or
    a topside micro-trench formed within a portion of the                 more bottom bond pads;
       piezoelectric layer;                                            wherein the one or more bottom bond pads are electrically
    one or more bond pads formed overlying one or more                    coupled to the one or more bond pads and the topside
       portions of the piezoelectric layer;                               metal;
    a topside metal having a topside metal plug formed within 40       a first backside trench formed within the thinned seed
       the topside micro-trench and electrically coupled to at            substrate and underlying the topside metal electrode;
       least one of the bond pads;                                     a second backside trench formed within the thinned seed
    a thinned top cap structure bonded to the piezoelectric               substrate and underlying the topside micro-trench;
       substrate, the thinned top cap structure including an           a backside metal electrode formed underlying one or more
       interposer substrate with one or more blind via struc- 45          portions of the thinned seed substrate, within the first
       tures electrically coupled to one or more bottom bond              backside trench, and underlying the topside metal elec-
       pads, wherein the one or more blind via structures are             trode;
       exposed;                                                        a backside metal plug formed underlying one or more
    wherein the one or more bottom bond pads are electrically             portions of the thinned seed substrate, within the sec-
       coupled to the one or more bond pads and the topside 50            ond backside trench, and underlying the topside micro-
       metal;                                                             trench, the bottom topside metal plug being electrically
    a first backside trench formed within the thinned seed                coupled to the topside metal plug, wherein the topside
       substrate and underlying the topside metal electrode;              micro-trench, the topside metal plug, the second back-
    a second backside trench formed within the thinned seed               side trench, and the backside metal plug form a micro-
       substrate and underlying the topside micro-trench;        55       via;
    a backside metal electrode formed underlying one or more           a backside cap structure bonded to the thinned seed
       portions of the thinned seed substrate, within the first           substrate, the backside cap structure underlying the first
       backside trench, and underlying the topside metal elec-            and second backside trenches;
       trode;                                                          one or more backside bond pads formed within one or
    a backside metal plug formed underlying one or more 60                more portions of the backside cap structure, the one or
       portions of the thinned seed substrate, within the sec-            more of the backside bond pads being electrically
       ond backside trench, and underlying the topside micro-             coupled to the backside metal plug; and
       trench, the backside metal plug being electrically              one or more solder balls formed underlying the one or
       coupled to the topside metal plug and the backside                 more backside bond pads.
       metal electrode, wherein the topside micro-trench, the 65       13. The device of claim 11 wherein the seed substrate
       topside metal plug, the second backside trench, and the      includes silicon, silicon carbide, aluminum oxide, or single
       backside metal plug form a micro-via;                        crystal aluminum gallium nitride materials.
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    14. The device of claim 11 wherein the topside and                 a backside metal formed underlying one or more portions
 backside metal electrodes include molybdenum, aluminum                   of the thinned seed substrate, within the shared back-
 ruthenium, or titanium materials, or combinations thereof;               side trench, and underlying the topside micro-trench,
 and wherein the topside metal, the topside metal plug, and               the backside metal being electrically coupled to the
 the backside metal plug include gold materials or other 5                topside metal plug and the backside metal electrode
 interconnect materials.                                                  wherein the topside micro-trench, the topside metal
    15. The device of claim 11 wherein the backside cap                   plug, and the backside metal form a micro-via.
 structure includes a silicon substrate, a glass substrate, or a
                                                                       17. The device of claim 16 wherein the seed substrate
 smart-glass substrate.
                                                                    includes silicon, silicon carbide, aluminum oxide, or single
    16. A communication filter device comprising:                10
                                                                    crystal aluminum gallium nitride materials.
    a piezo~lectric substrate having a substrate surface region,
       the p1ezo electric substrate having a piezoelectric layer       18. The device of claim 16 wherein the topside and
       formed overlying a thinned seed substrate;                   backside   metal electrodes include molybdenum aluminum
    a topside metal electrode formed overlying a portion of         ruthenium, or titanium materials, or combinati;ns thereofi
       the substrate surface region;                                and wherein the topside metal, the topside metal plug, and
                                                                 15
    a topside micro-trench formed within a portion of the           the backside metal plug includes gold materials or other
       piezoelectric layer;                                         interconnect materials.
    one or more bond pads formed overlying one or more                 19. The device of claim 16 further comprising a backside
       portions of the piezoelectric layer;                         cap   structure bonded to the thinned seed substrate the
    a topside metal having a topside metal plug formed within 20 backside cap structure underlying the shared backside
       the topside micro-trench and electrically coupled to at      trench, wherein the backside cap structure includes a seed
       least one of the bond pads;                                  substrate, a glass substrate, or an interposer substrate.
    a shared backside trench formed within the thinned seed            20. The device of claim 16 wherein the backside metal
       substrate and underlying the topside metal electrode         electrode is patterned within the boundaries of the shared
       and the topside micro-trench;                                backside trench such that the backside metal electrode does
                                                                 25
                                                                    not come in contact with one or more side-walls of the seed
    a backside metal electrode formed underlying one or more
       portions of the thinned seed substrate, within the shared    substrate created during the forming of the shared backside
       backside trench, and underlying the topside metal elec-      trench.
       trode; and                                                                           * * * * *
